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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 14-471V
                                         Filed: March 19, 2015

* * * * * * * * * * * * * * * *                                    UNPUBLISHED
CARIE BROWN, parent of K.B., a minor, *
                                      *                            Special Master Hamilton-Fieldman
          Petitioner,                 *
                                      *                            Joint Stipulation on Damages;
v.                                    *                            Influenza (“Flu”) Vaccine; Hepatitis
                                      *                            A (“Hep A”) Vaccine; Guillain-
SECRETARY OF HEALTH                   *                            Barré Syndrome (“GBS”).
AND HUMAN SERVICES,                   *
                                      *
          Respondent.                 *
* * * * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.
Debra Begley, United States Department of Justice, Washington, D.C., for Respondent.

                                               DECISION 1

       On June 4, 2014, Carie Brown (“Petitioner”) filed a petition on behalf of her minor son,
K.B., pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to
-34 (2006). Petitioner alleged that the administration of an influenza (“flu”) vaccine on October
14, 2011, and a Hepatitis A (“hep A”) vaccine on November 18, 2011, caused K.B. to suffer
from Guillain-Barré syndrome (“GBS”).

       On March 19, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that K.B.’s GBS, or any other
condition, was caused-in-fact by his flu and/or hep A vaccinations. Nevertheless, the parties
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party
has 14 days within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.


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agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

        A lump sum of $90,000.00 in the form of a check payable to Petitioner as guardian/
        conservator of K.B.’s estate; and

        A lump sum of $2,045.63 in the form of a check payable to Petitioner for past
        unreimbursed medical expenses.

        Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

        IT IS SO ORDERED.

                                                  s/ Lisa Hamilton-Fieldman
                                                  Lisa Hamilton-Fieldman
                                                  Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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